                           IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE


UNITED STATES OF AMERICA,                    )
                                             )
                              Plaintiff,     )
                                             )
                      v.                     )       No. 3:11-CR-69
                                             )
MERRILL NEAL, and                            )       (PHILLIPS/SHIRLEY)
BRANDON SCOTT HARRIS,                        )
                                             )
                              Defendants.    )


                                            ORDER

       All pretrial motions in this case have been referred to the undersigned pursuant to 28 U.S.C.

§ 636(b) for disposition or report and recommendation regarding disposition by the District Court

as may be appropriate. This case is before the Court on Defendant Brandon Harris’s First Motion

to Adopt [Doc. 31] and Defendant Merrill Neal’s Motion to Extend Motion Cut-off Deadline [Doc.

32], both filed on June 22, 2011. On June 21, 2011, the Court granted [Doc. 27] Codefendant

Michael Neal’s request to extend the June 22 motion-filing deadline two weeks to July 6, 2011, in

order to give counsel additional time to receive FBI reports from Chicago and to prepare pretrial

motions. Defendant Harris seeks to adopt Defendant Michael Neal’s request, stating that he and

Codefendant Micheal Neal are charged in the same conspiracy and share common questions of fact

and law. The Court finds that because the Government did not object to the extension requested by

Defendant Michael Neal and because the Defendants appear to be similarly situated with regard to

the discovery needed, Defendant Brandon Harris has also shown good cause for an extension of his



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motion deadline. Defendant Brandon Harris’s Motion to Adopt [Doc. 31] is GRANTED, and his

motion deadline is also extended to July 6, 2011. The Government’s response deadline for any

motions filed by Defendants Michael Neal and Brandon Harris is extended to July 15, 2011.

        Defendant Merrill Neal asks the Court to extend his June 22 motion-filing deadline to July

15, 2011. Defense counsel for this Defendant states that he anticipates receiving additional

discovery and that he is still investigating the facts of the case and researching the relevant case law.

He states that he needs additional time to complete his investigation of the case and to consult with

the Defendant regarding the filing of pretrial motions. Counsel also notes that he will be out of the

district from July 4 through 11 and that he does not believe that he can complete the preparation of

pretrial motions before that time. The motion states that the Government does not object to the

requested extension. The Court finds that Defendant Merrill Neal has also shown good cause for

an extension of his motion deadline. The Defendant’s request [Doc. 32] is GRANTED, and

Defendant Merrill Neal’s motion deadline is extended to July 15, 2011. A reciprocal extension of

the Government’s response deadline would have any responses being filed after the pretrial

conference on July 19, 2011, at 9:30 a.m. Accordingly, if Defendant Merrill files any pretrial

motions, the Court will set a new response deadline at the pretrial conference. All other dates and

deadlines in the case shall remain the same at this time.

        Accordingly, it is ORDERED:

                (1) Defendant Brandon Harris’s First Motion to Adopt [Doc. 31] is
                GRANTED, and his motion deadline is extended to July 6, 2011;

                (2) Defendant Merrill Neal’s Motion to Extend Motion Cut-off
                Deadline [Doc. 32] is also GRANTED, and his motion deadline is
                extended to July 15, 2011; and




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            (3) The Government’s response deadline for any motions filed by
            Defendants Michael Neal and Brandon Harris is July 15, 2011. The
            Government’s response deadline for Defendant Merrill Neal’s
            motions will be set at the July 19, 2011 pretrial conference, if any
            motions are filed by this Defendant.

      IT IS SO ORDERED.
                                                 ENTER:


                                                   s/ C. Clifford Shirley, Jr.
                                                 United States Magistrate Judge




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